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                               UNITED STATES DISTRICT COURT
                                   DISTRICT OF COLORADO



   LEE VALLOT, individually and on behalf of all others
   similarly situated,                                                   Civil Action No:
                                            Plaintiff,
                                                                         CLASS ACTION COMPLAINT

                                                                          DEMAND FOR JURY TRIAL




          -v.-
   PROFESSIONAL BUREAU OF COLLECTIONS OF
   MARYLAND, INC., CASCADE RECEIVABLES
   MANAGEMENT, LLC and John Does 1-25,

                                         Defendants.


  Plaintiff Lee Vallot (hereinafter, “Plaintiff” or “Vallot”), a Louisiana resident, brings this Class

  Action Complaint by and through his attorneys, RC Law Group, PLLC, against Defendant

  Professional Bureau of Collections of Maryland, Inc.(hereinafter “Defendant PBCM”), Cascade

  Receivables Management, LLC (hereinafter “Defendant Cascade”), individually and on behalf of a

  class of all others similarly situated, pursuant to Rule 23 of the Federal Rules of Civil Procedure,

  based upon information and belief of Plaintiff’s counsel, except for allegations specifically

  pertaining to Plaintiff, which are based upon Plaintiff's personal knowledge.



                        INTRODUCTION/PRELIMINARY STATEMENT

         1.      Congress enacted the FDCPA in 1977 in response to the "abundant evidence of the

     use of abusive, deceptive, and unfair debt collection practices by many debt collectors." 15

     U.S.C. §1692(a). At that time, Congress was concerned that "abusive debt collection practices

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     contribute to the number of personal bankruptcies, to material instability, to the loss of jobs, and

     to invasions of individual privacy." Id. Congress concluded that "existing laws…[we]re

     inadequate to protect consumers," and that "'the effective collection of debts" does not require

     "misrepresentation or other abusive debt collection practices." 15 U.S.C. §§ 1692(b) & (c).

        2.      Congress explained that the purpose of the Act was not only to eliminate abusive

     debt collection practices, but also to "insure that those debt collectors who refrain from using

     abusive debt collection practices are not competitively disadvantaged." ld. § 1692(e). After

     determining that the existing consumer protection laws ·were inadequate~ id § l692(b), Congress

     gave consumers a private cause of action against debt collectors who fail to comply with the

     Act. Id. § 1692k.

                                     JURISDICTION AND VENUE

        3.      The Court has jurisdiction over this class action pursuant to 28 U.S.C. § 1331, as

     well as 15 U.S.C. § 1692 et. seq. The Court also has pendent jurisdiction over the State law

     claims in this action pursuant to 28 U.S.C. § 1367(a).

        4.      Venue is proper in this judicial district pursuant to 28 U.S.C. $ 1391(b)(1) and 28

     U.S.C. § 1391(b)(2) as this is where a substantial part of the events or omissions giving rise to

     the claim occurred and this is where the defendant is primarily located.

                                        NATURE OF THE ACTION

        5.      Plaintiff brings this class action on behalf of a class of consumers under § 1692 et

     seq. of Title 15 of the United States Code, commonly referred to as the Fair Debt Collections

     Practices Act ("FDCPA"), and

        6.      Plaintiff is seeking damages and declaratory and injunctive relief.

                                                 PARTIES
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        7.       Plaintiff is a resident of the State of Louisiana, County of Iberia, residing at 417 Saint

     Jude Avenue, New Iberia, LA 70560.

        8.       Defendant PBCM is a "debt collector" as the phrase is defined in 15 U.S.C.

     § 1692(a)(6) and used in the FDCPA with an address at 529 DTC Parkway, Greenwood Village,

     CO 80111.

        9.       Defendant Cascade is a "debt collector" as the phrase is defined in 15 U.S.C.

     § 1692(a)(6) and used in the FDCPA at 1670 Corporate Cir Ste 202, Petaluma, CA 94954-6952.

        10.      Upon information and belief, Defendant PBCM is a company that uses the mail,

     telephone, and facsimile and regularly engages in business the principal purpose of which is to

     attempt to collect debts alleged to be due another.

        11.      John Does l-25, are fictitious names of individuals and businesses alleged for the

     purpose of substituting names of Defendants whose identities will be disclosed in discovery and

     should be made parties to this action.

                                          CLASS ALLEGATIONS

        12.      Plaintiffs bring this claim on behalf of the following case, pursuant to Fed. R. Civ.

     P. 23(a) and 23(b)(3).

        13.      The Class consists of:

                 a. all individuals;

                 b. to whom Professional Bureau of Collections of Maryland, Inc. sent a collection

                     letter;

                 c. regarding collection of a consumer debt;

                 d. for which the original creditor was improperly identified as Cascade Receivables

                     Management, LLC;
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                 e. which letter was sent on or after a date one (1) year prior to the filing of this

                    action and on or before a date twenty-one (2l) days after the filing of this action.

        14.      The identities of all class members are readily ascertainable from the records of

     Defendants and those companies and entities on whose behalf they attempt to collect and/or

     have purchased debts.

        15.      Excluded from the Plaintiff Classes are the Defendants and all officer, members,

     partners, managers, directors and employees of the Defendants and their respective immediate

     families, and legal counsel for all parties to this action, and all members of their immediate

     families.

        16.      There are questions of law and fact common to the Plaintiff Classes, which common

     issues predominate over any issues involving only individual class members. The principal issue

     is whether the Defendants' written communications to consumers, in the forms attached as

     Exhibits A, violate 15 U.S.C. §§ l692e and §1692f.

        17.      The Plaintiffs' claims are typical of the class members, as all are based upon the same

     facts and legal theories. The Plaintiffs will fairly and adequately protect the interests of the

     Plaintiff Classes defined in this complaint. The Plaintiffs have retained counsel with experience

     in handling consumer lawsuits, complex legal issues, and class actions, and neither the Plaintiffs

     nor their attorneys have any interests, which might cause them not to vigorously pursue this

     action.

        18.      This action has been brought, and may properly be maintained, as a class action

     pursuant to the provisions of Rule 23 of the Federal Rules of Civil Procedure because there is a

     well-defined community interest in the litigation:
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              a. Numerosity: The Plaintiffs are informed and believe, and on that basis allege,

                 that the Plaintiff Classes defined above are so numerous that joinder of all

                 members would be impractical.

              b. Common Questions Predominate: Common questions of law and fact exist as

                 to all members of the Plaintiff Classes and those questions predominance over

                 any questions or issues involving only individual class members. The principal

                 issue is whether the Defendants' written communications to consumers, in the

                 forms attached as Exhibit A violate 15 § l692e and §1692f.

              c. Typicality: The Plaintiff’s claims are typical of the claims of the class members.

                 The Plaintiffs and all members of the Plaintiff Classes have claims arising out of

                 the Defendants' common uniform course of conduct complained of herein.

              d. Adequacy: The Plaintiffs will fairly and adequately protect the interests of the

                 class members insofar as Plaintiffs have no interests that are adverse to the absent

                 class members. The Plaintiffs are committed to vigorously litigating this matter.

                 Plaintiffs have also retained counsel experienced in handling consumer lawsuits,

                 complex legal issues, and class actions. Neither the Plaintiffs nor their counsel

                 have any interests which might cause them not to vigorously pursue the instant

                 class action lawsuit.

              e. Superiority: A class action is superior to the other available means for the fair

                 and efficient adjudication of this controversy because individual joinder of all

                 members would be impracticable. Class action treatment will permit a large

                 number of similarly situated persons to prosecute their common claims in a single
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                    forum efficiently and without unnecessary duplication of effort and expense that

                    individual actions would engender.

        19.     Certification of a class under Rule 23(b)(3) of the Federal Rules of Civil Procedure

     is also appropriate in that the questions of law and fact common to members of the Plaintiff

     Classes predominate over any questions affecting an individual member, and a class action is

     superior to other available methods for the fair and efficient adjudication of the controversy.

        20.     Depending on the outcome of further investigation and discovery, Plaintiffs may, at

     the time of class certification motion, seek to certify a class(es) only as to particular issues

     pursuant to Fed. R. Civ. P. 23(c)(4).


                                        FACTUAL ALLEGATIONS

        21.     Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

     numbered above herein with the same force and effect as if the same were set forth at length

     herein.

        22.     Some time prior to February 1, 2017, an obligation was allegedly incurred to

     Schumacher Medical.

        23.     The obligation arose out of a transaction involving a medical debt incurred by

     Plaintiff with Schumacher Medical in which money, property, insurance or services, which are

     the subject of the transaction, are primarily for personal, family or household purposes.

        24.     Sometime thereafter, the Schumacher Medical debt was assigned or sold to

     Defendant Cascade Receivables Management.

        25.     The alleged Cascade Receivables Management obligation is a "debt" as defined by

     15 U.S.C.§ 1692a(5).
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         26.    Defendant Cascade Receivables Management contracted the Defendant to collect the

     alleged debt.

         27.    Defendant PBCM collects and attempts to collect debts incurred or alleged to have

     been incurred for personal, family or household purposes on behalf of creditors using the United

     States Postal Services, telephone and internet.



                              Violation I – February 1, 2017 Collection Letter

         28.    On or about February 1, 2017, Defendant PBCM sent the Plaintiff a collection letter

     (the “Letter”) regarding the alleged debt owed to Defendant Cascade. See February 1, 2017

     Collection Letter – Attached hereto as Exhibit A.

         29.    The letter was deceptive and misleading

         30.    Specifically the letter falsely lists the original creditor as Cascade Receivables

     Management when, in fact, they are a buyer of debt and therefore cannot be the original creditor.

         31.    It is deceptive to falsely state or incorrectly label who the creditor is on any letter

     sent.

         32.    Plaintiff incurred an informational risk of harm as he was not provided with the

     correct creditor information which hindered him from making a decision about whether he

     owned the debt and to whom the correct and true owner was.

         33.    As a result of Defendant’s deceptive misleading and false debt collection practices,

     Plaintiff has been damaged.

                                COUNT I
   VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT 15 U.S.C. §1692e
                                  et seq.
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        34.     Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

     above herein with the same force and effect as if the same were set forth at length herein.

        35.     Defendant’s debt collection efforts attempted and/or directed towards the Plaintiff

     violated various provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692e.

        36.     Pursuant to 15 U.S.C. §1692e, a debt collector may not use any false, deceptive, or

     misleading representation or means in connection with the collection of any debt.

        37.     Defendant violated said section by:

                a. Making a false and misleading representation in violation of § 1692e(2),

                    1692e(5) and 1692e(10).

        38.     By reason thereof, Defendant is liable to Plaintiff for judgment that Defendant's

     conduct violated Section 1692e et seq. of the FDCPA, actual damages, statutory damages, costs

     and attorneys’ fees.


                                    COUNT II
         VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT 15 U.S.C.
                                   §1692f et seq.

        39.     Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

     above herein with the same force and effect as if the same were set forth at length herein.

        40.     Defendant’s debt collection efforts attempted and/or directed towards the Plaintiff

     violated various provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692f.

        41.     Pursuant to 15 U.S.C. §1692f, a debt collector may not use any unfair or

     unconscionable means in connection with the collection of any debt.

        42.     Defendant violated this section by unfairly advising Plaintiff of the proper original

     creditor of the account
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         43.     By reason thereof, Defendant is liable to Plaintiff for judgment that Defendant's

     conduct violated Section 1692f et seq. of the FDCPA, actual damages, statutory damages, costs

     and attorneys’ fees.


                                       DEMAND FOR TRIAL BY JURY


         44.     Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby requests

     a trial by jury on all issues so triable.


                                           PRAYER FOR RELIEF

         WHEREFORE, Plaintiff Lee Vallot, individually and on behalf of all others similarly

     situated, demands judgment from Defendant Professional Bureau of Collections of Maryland,

     Inc. as follows:


         1.      Declaring that this action is properly maintainable as a Class Action and certifying

     Plaintiff as Class representative, and Yaakov Saks, Esq. as Class Counsel;

         2.      Awarding Plaintiff and the Class statutory damages;

         3.      Awarding Plaintiff and the Class actual damages;

         4.      Awarding Plaintiff costs of this Action, including reasonable attorneys’ fees and

     expenses;

         5.      Awarding pre-judgment interest and post-judgment interest; and

         6.      Awarding Plaintiff and the Class such other and further relief as this Court may deem

     just and proper.


         Dated: January 30, 2018                               Respectfully Submitted,

                                                               RC LAW GROUP, PLLC
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